                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

In Re: Bernadette Allen-Griffin                            Case No. 19-55688-mar
                                                           Chapter 13
                                                           Hon. Mark A. Randon
                      Debtor.
                                       /

                   OBJECTION TO CHAPTER 13 PROOF OF CLAIM NO. 6
                           OF PLANET HOME LENDING, LLC

      Bernadette Allen-Griffin, Debtor herein, by and through her attorneys, Berman & Bishop,
PLLC, by Robert W. Bishop respectfully objects to the Proof of Claim No. 6 of Planet Home
Lending, LLC filed on January 2, 2020 and states as follows:

       1.     That this case was filed on November 5, 2019.
       2.     That Planet Home Lending, LLC filed its proof of claim for the debtor’s residence.
       3.     That said claim indicated arrears in the amount of $517.14.
       4.     That Debtor has made all necessary payments to the creditor and has kept the
              payments to this creditor current.

        WHEREFORE, Debtor requests that the arrearage portion of this Proof of Claim No. 6
filed by Planet Home Lending, LLC on January 2, 2020 shall be denied and that said payments
shall be deemed current.

Dated: January 7, 2020                       /s/ Robert W. Bishop
                                             ROBERT W. BISHOP (P66345)
                                             Attorney for Debtor
                                             24405 Gratiot Ave.
                                             Eastpointe, MI 48021
                                             (586) 775-0600
                                             bermanbishop@gmail.com




  19-55688-mar      Doc 21        Filed 01/07/20   Entered 01/07/20 15:46:31     Page 1 of 4
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In Re: Bernadette Allen-Griffin                            Case No. 19-55688-mar
                                                           Chapter 13
                                                           Hon. Mark A. Randon
                      Debtor.
                                       /

               ORDER GRANTING OBJECTION TO PROOF OF CLAIM NO. 6
                        OF PLANET HOME LENDING, LLC

        Upon the reading and filing of Debtor’s Objection to Proof of Claim No. 6 of Planet Home
Lending, LLC which was presented to this Court pursuant to Bankruptcy Rule 3007, and no
responses having been filed to the said Objections and a Certificate of No Response having
been filed with this Court;

       NOW THEREFORE, IT IS HEREBY ORDERED THAT:

       The objection to the Proof of Claim filed by the above-referenced creditor is hereby
granted.  To the extent that the Chapter 13 Standing Trustee has previously made
disbursements to such creditor, the Trustee shall not be obligated to recoup same.

       IT IS FURTHER ORDERED as follows:

       1.     That the arrearage portion of the Chapter 13 Proof of Claim No. 6 of Planet Home
              Lending, LLC shall be denied and that said payments shall be deemed current.
       2      It shall not be the responsibility of the Chapter 13 Trustee to recoup funds
              previously paid to said Creditor, if any.




  19-55688-mar      Doc 21        Filed 01/07/20   Entered 01/07/20 15:46:31     Page 2 of 4
                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In Re: Bernadette Allen-Griffin                                    Case No. 19-55688-mar
                                                                   Chapter 13
                                                                   Hon. Mark A. Randon
                        Debtor.
                                         /

                             NOTICE OF OBJECTION TO CLAIM NO. 6
                               OF PLANET HOME LENDING, LLC

        Bernadette Allen-Griffin, Debtor herein, has filed an objection to your claim in this bankruptcy
case.

       Your claim may be reduced, modified, or denied. You should read these papers carefully
and discuss them with your attorney, if you have one.

        If you do not want the Court to deny or change your claim, then on or before February 12, 2020,
you or your lawyer must:

        1.      File with the court a written response to the Objections, explaining your position at:
                                      United States Bankruptcy Court
                                       211 W. Fort Street, Suite 2100
                                               Detroit, MI 48226

                If you mail your response to the court for filing, you must mail it early
                enough so the court will receive it on or before the date stated above.

                You must also mail a copy to:

                ROBERT W. BISHOP (P66345)                          KRISPEN S. CARROLL
                Attorney for Debtor                                Standing Chapter 13 Trustee
                24405 Gratiot Ave.                                 719 Griswold Street, Suite 1100
                Eastpointe, MI 48021                               Detroit, MI 48226-3314
                (586) 775-0600                                     (313) 962-5035
                bermanbishop@gmail.com

        2.      Attend the hearing on the Objection, scheduled to be held on February 19, 2020 at 11:00
                a.m. in Courtroom 1825, 211 West Fort Street, Detroit, Michigan, unless your
                attendance is excused by mutual agreement between yourself and the objector’s
                attorney. If you or your attorney do not take these steps, the court may deem that
                you do not oppose the objection to your claim, in which event the hearing will be
                canceled, and the objection sustained.

Dated: January 7, 2020                            /s/ Robert W. Bishop
                                                  ROBERT W. BISHOP (P66345)
                                                  Attorney for Debtor
                                                  24405 Gratiot Ave.
                                                  Eastpointe, MI 48021
                                                  (586) 775-0600
                                                  bermanbishop@gmail.com




  19-55688-mar        Doc 21      Filed 01/07/20       Entered 01/07/20 15:46:31            Page 3 of 4
                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

In Re: Bernadette Allen-Griffin                             Case No. 19-55688-mar
                                                            Chapter 13
                                                            Hon. Mark A. Randon
                      Debtor.
                                       /

                                    CERTIFICATE OF SERVICE

       The undersigned, being first duly sworn, deposes and says that on January 7, 2020, she
served electronically and/or by United States Mail, postage prepaid a copy of the following:

DOCUMENT(S):                  Objection to Proof of Claim No. 6 of Planet Home Lending, LLC

ADDRESSEE(S):                 KRISPEN S. CARROLL
                              Standing Chapter 13 Trustee
                              719 Griswold Street, Suite 1100
                              Detroit, MI 48226-3314
                              (313) 962-5035

                              Planet Home Lending, LLC
                              c/o Potestivo & Associates, P.C.
                              251 Diversion
                              Rochester, MI 48307

       I DECLARE THE ABOVE STATEMENTS ARE TRUE AND ACCURATE TO THE BEST
OF MY INFORMATION, KNOWLEDGE AND BELIEF.

Dated: January 7, 2020


/s/ K. Rae Dahn
Paralegal
Berman & Bishop, PLLC
24405 Gratiot Ave.
Eastpointe, MI 48021
(586) 775-0600
bermanbishop@gmail.com




  19-55688-mar      Doc 21        Filed 01/07/20   Entered 01/07/20 15:46:31      Page 4 of 4
